 PROB 12B
Case:      2:17-cr-00044-EAS *SEALED* Doc #: 39 *SEALED* Filed: 07/07/21 Page: 1 of 3 PAGEID
 Rev (12/98)
                                              #: 77
                           UNITED STATES DISTRICT COURT
                                                   FOR THE
                                SOUTHERN DISTRICT OF OHIO
                 Request for Modifying the Conditions or Term of Supervision
                                with Consent of the Offender
                         (Probation Form 49, Waiver of Hearing is Attached)
                                                                                             21CR10082 JAH
    Name of Offender:          Jenaro Miranda Acuna                            Case Number: 2:17CR00044 (1)
    Name of Sentencing        The Honorable Edmund A. Sargus Jr.
    Judicial Officer:         U.S. District Court Judge
                              Southern District of Ohio

    Date of Original
                              May 11, 2017
    Sentence:
    Original Offense:         Possession With Intent to Distribute 100 Grams or More of Heroin, a
                              violation of 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(B)(i), a Class B Felony.

    Original Sentence:        33 Month(s) Incarceration (minus time served)
                              60 Month(s) Supervised Release

    Type of Supervision:      Supervised Release           Date Supervision Commenced: November 7, 2018



                                         PETITIONING THE COURT

            ☐ To extend the term of supervision for [ --- ] years, for a total term of [ --- ] years.

            ☒ To modify the conditions of supervision as follows:

                 “The defendant shall enroll in and successfully complete a residential drug treatment
                  program as directed by the probation officer.”

                                                 CAUSE

    On November 7, 2018, Mr. Acuna’s term of supervised release commenced in the Central District of
    California (CD/CA). As previously reported to the Court via a 12B petition on March 10, 2021, Mr.
    Acuna’s supervision was transferred to the Southern District of California (SD/CA) on January 15,
    2021.

    According to Mr. Acuna’s supervising probation officer, the offender has recently demonstrated
    ongoing noncompliance with the conditions of his supervised release. On May 11, 2021, Mr. Acuna
    failed to appear to a random drug test at GEO Reentry Services, - the SD/CA U.S. Probation Office’s
    contract treatment provider. On May 21, 2021, Mr. Acuna admitted to the probation officer to illicitly
    using marijuana on April 22, 2021 and cocaine on May 9 and May 19, 2021. Mr. Acuna signed an


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                                       Unauthorized Disclosure is Prohibited
 PROB 12B
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    admission report in acknowledgment of his drug use. Moreover, on May 26, 2021, Mr. Acuna submitted
    urine specimens for urinalysis to GEO Reentry Services, with presumptive positive results for cocaine
    and amphetamines. On June 3, 2021, Mr. Acuna admitted to the probation officer to using
    methamphetamine and cocaine on May 23, 2021.

    Mr. Acuna is requesting to return to compliance and expressed interest in addressing his substance
    abuse problem in a residential setting. On June 7, 2021, Mr. Acuna signed a Waiver of Hearing, agreeing
    to modify the conditions of his supervised release to include completion of a residential drug treatment
    program. Therefore, the probation officer is respectfully recommending a modification to the conditions
    of his supervised release to include the condition specified in the attached Waiver of Hearing.

    Respectfully submitted,                                   Reviewed & Approved,




    Benjamin Nicholas                                         Vanessa Fletcher
    U.S. Probation Officer                                    Senior U.S. Probation Officer
    June 28, 2021                                             June 28, 2021



            THE COURT ORDERS:
                  ☐ No Action
                  ☐ The Extension of Supervision as Noted Above
                  X The Modification of Conditions as Noted Above
                  ☐
                  ☐ Other:

                                                                           s/Edmund A. Sargus, Jr.
                                                               Signature of Judicial Officer

                                                                7/7/2021
                                                                Date




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                                                                        21CR10082 JAH
Case:
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 Rev (12/98)
                                              #: 73
                           UNITED STATES DISTRICT COURT
                                                   FOR THE
                                SOUTHERN DISTRICT OF OHIO
                 Request for Modifying the Conditions or Term of Supervision
                                with Consent of the Offender
                              (Probation Form 49, Waiver of Hearing is Attached)

                                                                                            21CR10082 JAH
    Name of Offender:         Jenaro Miranda Acuna                             Case Number: 2:17CR00044 (1)
    Name of Sentencing        The Honorable Edmund A. Sargus Jr.
    Judicial Officer:         U.S. District Court Judge
                              Southern District of Ohio

    Date of Original
                              May 11, 2017
    Sentence:
    Original Offense:         Possession With Intent to Distribute 100 Grams or More of Heroin a
                              violation of 21 U.S.C. §§ 841(a)(1) and 841(b)(1)(B)(i). A Class B
                              Felony.

    Original Sentence:        33 Month(s) Incarceration (minus time served)
                              60 Month(s) Supervised Release

    Type of Supervision:      Supervised Release           Date Supervision Commenced: November 7, 2018



                                         PETITIONING THE COURT

            ☐ To extend the term of supervision for [ --- ] years, for a total term of [ --- ] years.

            ☒ To modify the conditions of supervision as follows:

                 The defendant shall not illegally possess a controlled substance. The defendant shall
                 refrain from any unlawful use of a controlled substance. Submit to one drug test
                 within 15 days of release from imprisonment and at least two periodic drug tests
                 thereafter. Testing requirements will not exceed submission of more than four (4)
                 drug tests per month during the term of supervision, unless otherwise ordered by
                 the court.

                 Submit your person, property, house, residence, vehicle, papers, [computers (as
                 defined in 18 U.S.C. § 1030(e)(1)), other electronic communications or data storage
                 devices or media,] or office, to a search conducted by a United States probation
                 officer. Failure to submit to a search may be grounds for revocation of release. The
                 offender must warn any other occupants that the premises may be subject to
                 searches pursuant to this condition. An officer may conduct a search pursuant to


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                      this condition only when reasonable suspicion exists that the offender has violated a
                      condition of his supervision and that the areas to be searched contain evidence of
                      this violation. Any search must be conducted at a reasonable time and in a
                      reasonable manner.

                      Report all vehicles owned or operated, or in which you have an interest, to the
                      probation officer.

                      Not enter or reside in the Republic of Mexico without permission of the court or
                      probation officer and comply with both United States and Mexican immigration
                      laws.

                                                           CAUSE

         On November 7, 2018, Mr. Acuna’s term of supervised release commenced in the Central
         District of California (CD/CA). He was residing with his long-time girlfriend, Carla
         Corrales, and their three children. Their relationship became very hostile and on August 24,
         2020, Ms. Corrales contacted local police to report Mr. Acuna had sexually assaulted her.
         She did not want to pursue charges but wanted him removed from the home.

         Mr. Acuna advised that the only place he could go was his mother’s residence in Calexico,
         California, since all other family members reside in Mexicali, Mexico. For this reason, Mr.
         Acuna was given permission to travel to the Southern District of California
         (SD/CA) and a transfer of supervision request was submitted to the SD/CA.

         On November 4, 2020, the SD/CA advised that the transfer of supervision request was
         denied due to his instability; however, they advised they would accept courtesy supervision
         and reassess the case in two months.

         On January 15, 2021, the SD/CA advised that they will be accepting the case for
         supervision. However, in order to supervise Mr. Acuna effectively in their district, the SD/
         CA is requesting a modification to the terms of supervised release to include the preceding
         conditions. Attached is a 12B waiver willingly signed by Mr. Acuna.




    Respectfully submitted,                                      Reviewed & Approved,



    Benjamin Nicholas                                            Vanessa Fletcher
    U.S. Probation Officer                                       Senior U.S. Probation Officer
    March 10, 2021                                               March 10, 2021




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Case:
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 Rev (12/98)
 Re: Jenaro Miranda Acuna                     #: 75
 Case No: 2:17CR00044 (1)                                                                      3



            THE COURT ORDERS:
                  ☐ No Action
                  ☐ The Extension of Supervision as Noted Above
                  ☐x The Modification of Conditions as Noted Above
                  ☐ Other:

                                                                s/Edmund A. Sargus, Jr.
                                                               Signature of Judicial Officer

                                                                  3/10/2021

                                                                Date




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                                       Unauthorized Disclosure is Prohibited
